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Counsel to the Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                  Chapter 11

JPA NO. 111 CO., LTD. and                               Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                        (Jointly Administered)

                            Debtors.1


                AFFIDAVIT OF SERVICE OF ORDER (A) APPROVING
            STALKING HORSE PURCHASE AGREEMENTS; (B) THE SALE OF
          THE PURCHASED ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
             INTERESTS, AND ENCUMBRANCES; (C) AUTHORIZING THE
             ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY
         CONTRACTS AND UNEXPIRED LEASES IN CONNECTION THEREWITH;
                      AND (D) GRANTING RELATED RELIEF
STATE OF NEW YORK  )
                   ) ss.:
COUNTY OF NEW YORK )

              JONATHAN COHEN being duly sworn, deposes and says: deponent is
not a party to the action, is over 18 years of age and resides in West Orange, New
Jersey.

               On March 28, 2022, deponent served a copy of the Order (A) Approving
Stalking Horse Purchase Agreements; (B) The Sale of the Purchased Assets Free and Clear of all
Liens, Claims, Interests, and Encumbrances; (C) Authorizing the Assumption and Assignment
of Certain Executory Contracts and Unexpired Leases in Connection Therewith; and

                                    [concludes on following page]




1
    The Debtors in these Chapter 11 cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The
    Debtors’ corporate address is Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki,
    Chiyoda-Ku, Tokyo 100-0013.
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(D) Granting Related Relief [Docket No. 180] upon the party on the service list annexed
hereto by First-Class International Mail.

                                                       /s/ Jonathan Cohen
                                                       JONATHAN COHEN
Sworn to before me this
30th day of March 2022

/s/ Cynthia Juliano
NOTARY PUBLIC




                                            2
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                                      SERVICE LIST


By First Class International Mail

Airbus S.A.S.
2, rond-point Emile Dewoitine 31700
Blagnac - France
Attn: A. Villanove
